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             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION
                                     §
UMG RECORDINGS, INC., et al.,   §
                                §
      Plaintiffs,               §
                                §
vs.                             §   Civil Action No. 1:17-cv-00365-LY
                                §
GRANDE COMMUNICATIONS           §
NETWORKS LLC and PATRIOT        §
MEDIA CONSULTING, LLC,          §
                                §
                                §
      Defendants.               §



 PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER REGARDING
     DEFENDANTS’ RULE 30(b)(6) DEPOSITION NOTICES
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                                        INTRODUCTION

       Defendants served Plaintiffs with deposition notices pursuant to Rule 30(b)(6) that seek a

wide range of information. Plaintiffs have agreed to provide witnesses who can testify to many of

the topics identified in the notices. However, the notices also seek testimony on certain topics that

are irrelevant and appear designed to divert attention from the central issues in this case: Grande’s

blatant infringement of Plaintiffs’ copyrighted works, and its utter lack of any plausible defense.

Requiring Plaintiffs to educate corporate representatives on the objectionable topics would serve

no useful purpose and would unduly burden Plaintiffs. Plaintiffs respectfully request that the Court

issue a protective order providing that Plaintiffs need only present Rule 30(b)(6) testimony within

the scope of their written objections and responses to Defendant’s notices.1

                                 RELEVANT BACKGROUND

       Plaintiffs filed this suit against Grande and Patriot on April 21, 2017, alleging those two

companies were liable for secondary copyright infringement. Plaintiffs’ case is straightforward:

Grande and Patriot provided continued internet service to and did not terminate the accounts of

any of the thousands of subscribers whom they knew to be repeatedly and illegally downloading

and sharing music recordings, including Plaintiffs’ copyrighted works. Grande and Patriot learned

of this rampant infringement through millions of notices that non-party Rightscorp, Inc.

(“Rightscorp”) sent over a period of several years. Yet, from at least 2011 until June 2017 (after

Plaintiffs filed this case), Grande made the conscious decision not to terminate or block any of the




1
 See Ex. A, Mar. 9, 2018 Sony Plaintiffs’ Objections and Responses to Defendants’ Rule 30(b)(6)
Deposition Notice (the notices served on the other Plaintiffs, and the other Plaintiffs’ objections
and responses, are identical to Sony’s and thus are not attached); Ex. B, Chart of relevant excerpts
of Plaintiffs’ Objections and Responses to the topics at issue in this motion.
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thousands of repeat infringing subscribers about whom it was notified. Instead, Grande continued

to reap substantial fees from those subscribers, who overwhelmingly comprise Grande’s most

profitable customers. Documents and deposition testimony adduced in discovery to date

substantiate Plaintiffs’ allegations. See Plaintiffs’ Motion for Leave to Amend Based on Newly

Discovered Evidence [Dkt. 85].

       On February 1, 2018, Grande and Patriot served identical Rule 30(b)(6) deposition notices

on the three groups of Plaintiff companies (Universal, Sony, and Warner). Plaintiffs responded

with their objections and responses on March 9, 2018. See, e.g., Ex. A.2 Each of the Rule 30(b)(6)

deposition notices seeks testimony on 47 topics. Plaintiffs agreed to provide deponents for many

of the topics as written or as modified by the parties by agreement. However, Plaintiffs objected

to the following topics in whole or in part because they seek irrelevant information, are overbroad

or are objectionable for other reasons:

       •    Legal theories and contentions regarding Defendants’ conduct (Ex. A, Topics 28-42,

            45-46);

       •    Companies other than Rightscorp that detect online copyright infringement and

            monitor internet service providers (ISPs) other than Grande (id. Topics 16-17);

       •    The technical workings of Rightscorp’s system (id. Topics 19-21);

       •    Communications among Plaintiffs regarding infringement by Grande’s subscribers (id.

            Topics 13-14);

       •    Plaintiffs’ total annual revenues (Topic 2); and

       •    All prior litigation involving any of Plaintiffs’ copyrighted works (Topic 23).



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 Defendants’ 30(b)(6) notices did not specify dates for the depositions, and the parties are in the
process of scheduling these depositions, which are likely to occur in July.
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       Defendants then delayed responding to Plaintiffs’ objections for two months. See Ex. C,

May 9, 2018 Brophy Email to Gilmore. Even when they finally responded, however, Defendants

failed to articulate the relevance of these broad and irrelevant topics, offering only minor revisions

to a handful of topics, none of which are at issue in this motion. Plaintiffs responded to Defendants’

email the next day. See Ex. C, May 10, 2018 Gilmore Email to Brophy. Plaintiffs and Defendants

thereafter conducted a telephonic conference in an attempt to discuss and resolve their dispute

regarding the scope of Defendants’ 30(b)(6) notices, but Defendants refused to withdraw or accept

reasonable limitations on any of the remaining topics, nor did they explain why the information

sought in their requests as formulated was relevant and proportional to the needs of the case.

       Plaintiffs, therefore, have filed this motion seeking a protective order from Defendants’

demand for irrelevant, overbroad, and unduly burdensome Rule 30(b)(6) deposition testimony.

                                      LEGAL STANDARD

       Parties may only seek information through discovery that is relevant and proportional to

the needs of the case. Fed. R. Civ. P. 26(b)(1). Rule 26 provides that “[o]n motion or on its own,

the court must limit the frequency or extent of discovery otherwise allowed by these rules or by

local rule if it determines that: (i) the discovery sought is unreasonably cumulative or duplicative,

or can be obtained from some other source that is more convenient, less burdensome, or less

expensive; (ii) the party seeking discovery has had ample opportunity to obtain the information by

discovery in the action; or (iii) the proposed discovery is outside the scope permitted by Rule

26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C).

       “A party or any person from whom discovery is sought may move for a protective order in

the court where the action is pending -- or as an alternative on matters relating to a deposition, in

the court for the district where the deposition will be taken.” Fed. R. Civ. P. 26(c)(1). A protective



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order is warranted in those instances in which the party seeking it demonstrates good cause and a

specific need for protection. See Landry v. Air Line Pilots Ass’n, 901 F.2d 404, 435 (5th Cir. 1990);

Gomez v. Ford Motor Co., 2017 WL 5178043, at *2 (W.D. Tex. June 7, 2017) (granting in part

motion for protective order limiting Rule 30(b)(6) deposition).

                                           ARGUMENT

       In Exhibit B, Plaintiffs set forth the full text of each Rule 30(b)(6) deposition topic that is

the subject of this motion, as well as the relevant excerpts of Plaintiffs’ responses to each of those

topics. For purposes of the following discussion, Plaintiffs have grouped together similar topics.

   THE 30(B)(6) TESTIMONY DEFENDANTS SEEK IS IRRELEVANT, OVERBROAD, AND UNDULY
   BURDENSOME, WARRANTING A PROTECTIVE ORDER.

       Category 1: Plaintiffs’ contentions about Defendants’ conduct. Topics 28-30, 32-42

and 45-46 all demand that Plaintiffs prepare a corporate witness to testify regarding the factual

bases for Plaintiffs’ various contentions in this lawsuit. Plaintiffs agreed to provide non-privileged

testimony on Topics 28-30, 32-42, and 46 as to the factual bases for their contentions, but objected

to the extent the topics purport to require a Rule 30(b)(6) witness to: speak to evidence that

Defendants themselves have produced in discovery; discuss legal opinions, contentions or

conclusions; or address the substance of Plaintiffs’ experts’ testimony and analyses. Because

Defendants refused to agree to these reasonable limitations, it is evident that Defendants in fact

seek precisely this improper sort of testimony.

       First, it would be extremely burdensome and harassing for Plaintiffs to be forced to educate

one or more witnesses about Defendants’ conduct. Much of that information is based on documents

and discovery responses that Defendants produced in discovery. Yet Defendants have designated

much of that information as Attorneys’ Eyes Only, which of course prevents Plaintiffs’ corporate

representative deponents from seeing it under the Protective Order entered in this case. It is thus

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not possible for Plaintiffs to educate witnesses on these topics. And even if it were possible, it is

unreasonable to require Plaintiffs to explain Defendants’ own information to Defendants. In

addition, the other information upon which Plaintiffs’ factual allegations are based is information

provided by Rightscorp. As discussed with respect to Category 3 below, Defendants will have

ample opportunity to depose Rightscorp about that information. See Rule 26(b)(2)(C).

       Even under liberal discovery rules, parties are “not required to have counsel ‘marshal all

of its factual proof’ and prepare a witness to be able to testify on a given defense or [claim].” In re

Indep. Servs. Org. Antitrust Litig., 168 F.R.D. 651, 654 (D. Kan. 1996) (citations omitted); see

also Fed. Trade Comm’n v. U.S. Grant Resources, LLC, 2004 WL 1444951, at *9 (E.D. La. June

25, 2004). That is especially so regarding evidence that the opposing party provided in discovery.

And to the extent that Defendants seek to depose Plaintiffs about information that is the subject of

expert testimony, numerous courts have held that “the experts who have drafted the expert reports

in question are better qualified to testify about their contents than a Rule 30(b)(6) witness.” Club

v. BNSF Ry. Co., No. C13-0967-JCC, 2016 WL 4528452, at *3 (W.D. Wash. Aug. 30, 2016)

(granting protective order against 30(b)(6) deposition seeking testimony regarding expert reports).

See also Trustees of Boston Univ. v. Everlight Elecs. Co., 2014 WL 5786492, at *4 (D. Mass. Sept.

24, 2014) (“A party may properly resist a Rule 30(b)(6) deposition on the grounds that the

information sought is more appropriately discoverable through contention interrogatories and/or

expert discovery.”).

       Second, Plaintiffs objected to two topics in this category (Nos. 31 and 45) entirely, because

they impermissibly seek legal opinions, contentions or conclusions. Numerous courts have held

that such contention topics for Rule 30(b)(6) depositions are improper or should be carefully

circumscribed. “Depositions, including 30(b)(6) depositions, are designed to discover facts, not



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contentions or legal theories, which, to the extent discoverable at all prior to trial, must be

discovered by other means.” JPMorgan Chase Bank v. Liberty Mut. Ins. Co., 209 F.R.D. 361, 362

(S.D.N.Y. 2002). Courts have recognized that “[u]nder the guise of requesting ‘facts’ ... [the party]

is really requesting [the opponent’s] mental impressions, conclusions, opinions, and legal theories.

Such classic work product is properly shielded from discovery.” Id. at 363. See also Liveperson,

Inc. v. 24/7 Customer, Inc., No. 14 Civ. 1559 (RWS), 2015 WL 4597546, at * 7 (S.D.N.Y. July

29, 2015); Everlight Elecs. Co., 2014 WL 5786492, at *4; Lockheed Martin Corp. v. United States,

Civ. A. No. 08-1160 (ESH/AK), 2013 WL 1968372, at *3 (D.D.C. May 13, 2013); Kinetic

Concepts, Inc. v. Convatec Inc., 268 F.R.D. 255, 263 (M.D.N.C. 2010); McCormick–Morgan, Inc.

v. Teledyne Indus., Inc., 134 F.R.D. 275, overruled on other grounds 765 F. Supp. 611 (N.D. Cal.

1991); In re Indep. Servs. Org. Antitrust Litig., 168 F.R.D. at 654.

       Topic 31 seeks “the existence of any opinions of legal counsel concerning the alleged

infringement of Plaintiffs’ Copyrighted Sound Recordings by Grande’s subscribers.” This topic is

a plain invasion of the attorney-client privilege and work product doctrines. See Nguyen v. Excel

Corp., 197 F.3d 200, 206 (5th Cir. 1999). And Defendants cannot articulate any proper reason why

the existence of such an opinion would be relevant for any of the claims, defenses, or issues in this

litigation. See Everlight Elecs. Co., 2014 WL 5786492, at *5 (denying Rule 30(b)(6) discovery of

legal opinions regarding non-infringement).

       Topic 45 seeks “Plaintiffs’ position regarding the steps an internet service provider must

take to satisfy the requirements of the statutory safe harbor of 17 U.S.C. § 512(i)(1).” This topic

clearly seeks Plaintiffs to testify as to a “legal theory” or contention, which is not discoverable

through a deposition. JPMorgan Chase Bank v. Liberty Mut. Ins. Co., 209 F.R.D. at 362; Everlight

Elecs. Co., 2014 WL 5786492, at *4.



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       Category 2: Companies other than Rightscorp that detect online infringement and

monitor ISPs other than Grande. This case is about Grande’s conduct in connection with

copyright infringement by its subscribers. A key part of Plaintiffs’ evidence are the copyright

infringement notices that Grande received from Rightscorp, which is a company that monitors and

detects online copyright infringement. Plaintiffs filed this lawsuit because they learned from

Rightscorp that Defendants had evidence of Grande subscribers’ rampant infringement of

Plaintiffs’ sound recordings.3

       Nevertheless, in Topics 16 and 17, Defendants stray far beyond information relevant to the

issues and evidence in this case. Instead of limiting the topics to information about Grande’s and

its customers’ infringement, Defendants seek information about other ISPs and their customers;

and instead of limiting the topics to information about Rightscorp’s efforts to detect infringement,

Defendants seek information about other non-party companies that detect and monitor online

copyright infringement. But other ISPs and other third party online infringement monitoring

companies that are not involved in detecting infringement by Grande’s subscribers are not relevant

to this case. Plaintiffs should not be forced to prepare a witness to testify regarding their

engagement of non-party monitoring companies to detect infringement by non-party ISPs. Cf.

Gomez, 2017 WL 5178043 at *4-5 (denying Rule 30(b)(6) testimony from car manufacturer as to

other models of cars for which the plaintiff had not shown involved the same or substantially

similar defect at issue in the case). Indeed, earlier in this case, Defendants argued that they should

not have to provide discovery related to other ISPs’ copyright infringement practices. The




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  To be sure, it appears from discovery produced by Defendants that Grande received copyright
infringement notices from companies other than Rightscorp, which may be relevant to Defendants’
knowledge of infringement. Nevertheless, Plaintiffs’ interactions with infringement monitoring
companies concerning Grande are limited to Rightscorp.
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Magistrate Judge agreed, ruling “that Patriot’s interactions with other ISPs are [not] relevant to

Grande’s policies and procedures relating to copyright infringement by Grande customers.”	Order

on Mot. to Compel at 2 [Dkt. 60]. The same reasoning should hold true here. If Patriot does not

have to produce discovery related to its interactions with other ISPs, then neither should Plaintiffs.

       Category 3: The technical functionality of Rightscorp’s online infringement detection

system. In topics 19-21, Defendants seek to require Plaintiffs to educate a witness on the operation,

capabilities and limitations of Rightscorp’s system for detecting online infringement. Plaintiffs do

not dispute the relevance of information about how Rightscorp’s system works, but they are not

the right parties to provide this discovery: Rightscorp is.

       Defendants can obtain the information they seek directly from Rightscorp. Defendants

have sent two subpoenas to Rightscorp, have received substantial volumes of Rightscorp

documents (and will be receiving additional documents in light of Defendants’ second subpoena),

and will be taking depositions of Rightscorp witnesses. In short, Defendants will have ample

discovery about how Rightscorp’s system works, from the company and its witnesses. “Where

responsive information can be provided more accurately and with less burden through one method

of discovery, that method should be used. Duplicative discovery methods should be avoided.”

HSBC Bank USA, N.A. v. Green Valley Pecos Homeowners Ass’n, Inc., Case No. 2:16-CV-00242-

JCM-GWF, 2016 WL 6915301, at *6 (D. Nev. Nov. 21, 2011) (emphasis added). Rightscorp

necessarily has better information about the operation, capabilities and limits of its own system

than Plaintiffs do. Requiring Plaintiffs to educate witnesses about all of this same information

would be unduly burdensome and cumulative, and any witness that Plaintiffs designated and

prepared to speak as to how Rightscorp’s system works would have less complete, and possibly

less accurate, information than Rightscorp itself.



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       Category 4: Communications among Plaintiffs regarding Grande’s subscribers’

infringement. Topics 13-14 seek communications among Plaintiffs relating to the alleged

infringement by Grande’s subscribers. But all such communications are protected by the attorney-

client privilege, and the work product and common interest doctrines. As Plaintiffs explained in

their sworn interrogatory responses, Plaintiffs did not learn about Grande’s subscribers’

infringement of Plaintiffs’ works, and Grande’s and Patriot’s culpability for that infringement,

until January 2016, when Rightscorp approached Plaintiffs’ trade association, the RIAA, with

evidence of this misconduct in connection with potential litigation to enforce Plaintiffs’ copyrights.

Ex. D, Sony Plaintiffs’ Resps. To Defs’ Interrog. No. 20. Before that time, Plaintiffs did not

communicate with each other about alleged infringement by Grande’s subscribers; and after that

time, all such communications were made in the context of anticipated litigation against Grande

(this lawsuit). Thus, all communications Plaintiffs have had among themselves regarding

infringement by Grande’s subscribers involve privileged discussions with counsel (or others acting

at the direction of counsel), and constitute materials protected by the work product doctrine. They

thus are protected from disclosure. In re Kaiser Aluminum and Chem. Co., 214 F.3d 586, 593 (5th

Cir. 2000) (communications in advance of anticipated litigation protected as work product); In re

Hardwood P-G, Inc., 403 B.R. 445, 460 (Bankr. W.D. Tex. 2009) (common interest privilege

applied to shield communications among plaintiffs preparing for litigation).

       Category 5: Other objectionable topics. Several other topics in Defendants’ notices also

exceed the scope of proper discovery. Topic 2 seeks testimony concerning Plaintiffs’ corporate

structure, related entities, operations and business purposes, including their annual revenues.

Plaintiffs have agreed to designate witnesses to testify generally about the nature of Plaintiffs’

businesses, and the purposes and significance of copyrighted sound recordings to the businesses.



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But Plaintiffs have objected to the request for testimony about their total annual revenue. Such

information is irrelevant to the case. HSBC Bank USA, N.A., 2016 WL 6915301 at *6. Topic 23

seeks testimony on all prior litigation involving any of the Plaintiffs’ copyrighted works, including

the allegations made, settlement offers, settlements and judgments. This is a fishing expedition,

plain and simple, and it is inappropriate for a Rule 30(b)(6) deposition. Plaintiffs’ entire businesses

revolve around the exploitation and protection of their copyrighted works. It is not reasonable to

expect Plaintiffs to prepare witnesses with all of the companies’ knowledge about any litigation

involving tens of thousands of copyrighted works, unbounded by scope or time. Such an overbroad

topic far exceeds any conceivable scope of relevance, plainly invades privilege and work product

protections, and would be enormously burdensome to address in any meaningful way.4

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully ask that the Court enter a protective order

limiting the scope of Plaintiffs’ 30(b)(6) testimony to that set forth in their written responses and

in the attached Exhibit B.

                               CERTIFICATE OF CONFERENCE

       Counsel for the parties attempted in good faith to resolve this matter by agreement, through

conferring in writing and telephonically, but were unable to resolve the dispute.




4
  To the extent Defendants seek information about the size of judgments in other lawsuits that, like
this one, involve large-scale copyright infringement, that information has been publicly reported.
See, e.g., Hollywood Reporter, “Record Labels Settle Massive LimeWire Copyright Lawsuit”
(May 12, 2011) (available at https://www.hollywoodreporter.com/thr-esq/record-labels-settle-
massive-limewire-188028) ($105 million settlement after summary judgment finding of liability
and injunction); Law360.com, “2nd Cir. Revives $48M Verdict Against MP3Tunes Founder” (Oct.
25, 2016) (available at https://www.law360.com/articles/855333/2nd-circ-revives-48m-verdict-
against-mp3tunes-founder).
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June 19, 2018



                                   Respectfully submitted,



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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on June 19, 2018 all counsel of record who are deemed to
have consented to electronic service are being served with the foregoing motion through the
Court’s ECF system.




                                                  /s/ Daniel C. Bitting

                                               Daniel C. Bitting
